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                                                  JUDGE JOHN C. COUGHENOUR




                   IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON
                               AT SEATTLE

UNITED STATES OF AMERICA,          )
                                   )
                       Plaintiff,  )              CASE NO. CR06-296JCC
                                   )
            v.                     )              ORDER CONTINUING
                                   )              MOTIONS FILING DEADLINE
DALE ALEXANDER PRENTICE,           )              FOR DEFENDANTS PRENTICE
et al.,                            )              AND HARMON
                                   )
                       Defendants. )
__________________________________)

       Based upon the above stipulation of the parties, and for the reasons set forth

therein, the Court finds that the ends of justice served by granting the requested

continuance of the motions filing deadline for defendants Dale A. Prentice and Chris Lee

Harmon. Accordingly,

       IT IS HEREBY ORDERED that the motions filing deadline for defendants

Prentice and Harmon is continued from September 28, 2006, to October 12, 2006.

       DATED this 28th day of September, 2006.


                                                  A
                                                  John C. Coughenour
                                                  United States District Judge

ORDER CONTINUING MOTIONS
FILING DEADLINE;
CR06-296JCC - 1
